                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION                          I                     )
UNITED STATES OFAMEIUCA,         §
                                 §   S     LE D                4   SEP 10       P        5:   50
     Plaintiff,                  §   INDICTMENT                             /

                                 §   CRIMINAL NO.     EP-th1                        i;




                                 §
                                 §   CT 1: 18 U.S.C. § 1962(d); Conspirayt6
                                 §   Conduct the Affairs of an Enierprie
                                 §.4hrough a PafternofRacketeering
                                 §   Activity;
                                 §   CT 2: 18 LS,C. § 1959(a)(1); Murder in
                                 §   aid of racketeeriiig activity;
                                 §   CT 3: 2 1:846 & 84i(a)(i)-Conspiracy to
                                 §   Possess a Controlled Substance with
                                 §   Intent to Distribute;
                                 §   CT 4: 21:963-Conspiracy to Import
SALVADOR GARCIA-GARCIA (6)       §   a Controlled Substance;
aka: Arthila,                    §   CT 5: 21:846 & 841(a)(1) & 841 (b)(l)(C)
                                 §   Conspiracy to Possess a Controlled
                                 §   Substance witb Intent to Distribute; and
                                 §   CT 6: 18: 1956(h)- Conspiracy to Launder
                                 §   Monetary Instruments,
                                 §   CT 7: 18: 922(d)- Transfer of a Firearm to
                                     a Prohibited Person.


                                 §
                                 §




                                          pi4C17




                                 §
     Defendants.
THE GRAND JURY CHARGES:

                                        INTRODUCTION

                            THE RACKETEERING ENTERPRISE
                               The "Barrio Azteca" Enterprise

         At all times relevant to this Indictment, in the Western District of Texas, and elsewhere,

the defendants,




                              SALVADOR GARCIA-GARCIA (6)
                                     aka: Ardilla,




Page 2 of 21
and others were members and associates of a criminal organization engaged in the importation of

controlled substances, and possession with the intent to distribute controlled substances, murder,

conspiracy to commit murder, extortion, robbery,m              idering, and assault: At all relevant

                         has operaledin the\VesteiDistriet of Texas anlsewhere,...and has_             ...............

been and is known as the Barrio Azteca(s) and will be referred to iiereinafter in this indictment as

the i3arrio Aztec.a" or "BA." The BA, including its leadership, membership, and associates,

constituted an "enterprise," as defined by Title 18. United States Code, Section 1961(4)

(hereinafter "the enterprise"), that is to say, a group of individuals associated in fact. The

enterprise was engaged in, and its activities affected, interstate and foreign commerce. The

enterprise constituted an ongoing organization whose members functioned as a continuing unit

for a common purpose of achieving the objects of the enterprise as further detailed below.

                                   Purposes of the Enterprise

        The purposes of the enterprise included the following:

               a.      Enriching the members and associates of the enterprise through, among
                       other things, importation and distribution of controlled substances,
                       murder, assault, extortion, money laundering,

               b.      Preserving and protecting the power, territory, and profits of the enterprise
                       through the use of intimidation, violence, threats of violence, assaults, and
                       murder.

               c.      Promoting and enhancing the enterprise and its members' and associates'
                       activities.

               d.      Keeping victims and others in fear of the enterprise and in fear of its
                       members and associates through violence and threats of violence.




Page 3 uf21
       The BA has expanded its sphere of influence to include the Texas Department of

Criminal Justice (TDCJ), the Federal Bureau of Prisons (BOP), and various cities in West Texas

and Ciudad Juarez, Chihuahua, Mexico. The BA has also entered into an alliance with the

Vicente Carrillo-Fuentes drug trafficking organization (VCFDTO) in Juarez, Mexico. As part of



enforcement operations for the VCFDTO. The VCFDTO, in exchange, pays the BA for these

services, or provides the BA with controlled substances at discount prices. The BA has further

subdivided its enterprise and developed geographical groups to better serve the criminal aims of

the organization. These groups include the cities of Juarez, Mexico and El Paso, Midland, and

Odessa, Texas. Each of these geographical groups has some autonomy in deciding how it will

achieve its criminal aims, but always within the framework and rules of the overarching BA

criminal enterprise. The city of El Paso, Texas, is further subdivided into different subsections

similar to the political subdivisions in the city, such as Central, Westside, Northeast, Eastside,

Lower Valley, Segundo Barrio, Horizon, and Socorro.

        In furtherance of the enterprise, BA members collect a street tax, also known as "cuota,"

"quota," "renta," or "taxes." The proceeds from the "cuota" are used to support members of the

BA who are arrested, to pay for lawyers, bail bonds, fines, and any other fees associated with

legal proceedings.   The proceeds from the "cuota" are also used to purchase money orders,

which are mailed through the United States Postal Service (USPS) to inmate accounts. The

proceeds are also reinvested back into the BA enterprise activities for the purchase of assets,

commodities, and other property related to the day-to-day function of the BA, including firearms,

ammunition, and controlled substances.




Page 4 of2l
                             Manner and Means of the Enterprise

                           History and Hierarchy of the Enterprise

        The BA, also known as "Familia Azteca," was formed in 1986 by inmates located

primarily in the TDCJ prison system. The purpose of the BA was to unite inmates that were



charter or rules, also known as "sacred rules," which set out a command structure, or hierarchy
                                                                   --              -.J:
of ranks and authority. These rules    provide  for a mechanism   for promotion, demotion   and

replacement of ranking members within the BA. The BA leadership ranks are the following: The

Capo Mayor, Captains, Lieutenants, Sergeants and Soldiers, the last also known as "indios." It is

the responsibility of every soldier to carry out the orders of the ranking membership. BAs refer

to one another as "carnal."     A person wishing to join the BA is called a "prospecto," or

"esquina."

                                     Rules of the Enterprise

        The original BA members developed a vocabulary, sacred rules, and chain of command.

These rules direct BA members to be loyal, obey, protect, and serve the "family" as dictated by

ranking members.       New members are introduced to these rules by their "Padrinos," or

individuals who serve as mentors for the new prospects entering the criminal enterprise. BA

members are bound by a strict set of rules that ensure loyalty and participation in the enterprise's

criminal activities.   The rules require that a member must continue his participation in the

organization after being released from prison. Membership is for life, and loyalty to the BA and

its members takes precedence over any other relationship. A violation of the BA rules or orders

may result in harsh penalties, including death. An order to carry out a punishment involving

assault or murder is commonly referred to as a "green light" or "X."        A "calentada" is a less




Page 5 of 21
 severe form of punishment involving some lesser form of assault. The strict rules and harsh

discipline governing the BA help insure that members and associates will function as a

continuing unit, despite any changes in leadership or membership.

           It is a common practice for some, but not necessarily all, BA members to have BA

tattoos.                                         letters "13

numeral "XXI," as a numerical representation of the 1ettrs "13" and "A." Other tattoos include

the numbers "915," a reference to the El Paso, Texas, area code, and "El Paso Texas." Many BA

members also obtain tattoos representing aspects of the ancient Aztec culture, such as Aztec

warriors, calendars, and temples, among others.

           The BA rules provide that loyalty to the BA or "Familia" is paramount and superior to

loyalties to God, country, family, or friends. All BA members are expected to know the rules of

the BA and strictly abide by them.          it is understood that BA members may be chosen to

undertake a particular task to discipline another BA member, including murder and other

criminal activity. The target of such an order may be a fellow BA, blood relative, friend, or other

associate of the person who is given the order. Regardless of the intended victim or the possible

consequences, an order must be carried out by the BA member chosen for the task,         If the BA
member does not carry out the task, typically referred to as a "Jale" or job, he will be subject to

disciplinary action by the BA enterprise.

                                         Communications

        BA members who are incarcerated throughout the United States and Mexico continue to

participate in the operations of the BA criminal enterprise from their prison cells by

communicating through letters, telephone calls, and prison visits with other BA members and

associates, friends, and funnily members. The BA leadership controls all BA members who are



Page 6 ofZl
incarcerated in the United States and Mexico, as well as those BA members operating outside the

prison system, which BA members and associates sometimes refer to as the "free world."

         The BA membership mails its directives using U.S. and Mexican postal services. The

letters written by BA members are written in English, Spanish, or a combination of the two

languages_Jihese                                                                            often    -
utilize an individual as a conduit to receive or send letters from another BA member or associate.

These conduits are called "bridges." The conduits will sometimes use fictitious names and

addresses to send and receive letters and money orders to BA members who are incarcerated.

1he use of these conduits is intended to prevent law enforcement from finding out the identities

of the true correspondents and the final destination of the letters.

         BA members also use telephone communications to discuss BA enterprise affairs, BA

members who are incarcerated coordinate telephone calls with BA members and associates to

give out orders.       The BA enterprise uses intrastate         interstate and foreign telephone

communication flicilities to further the affairs of the BA enterprise.

         Coded language is frequently utilized in written and oral BA communications in order to

mislead law enforcement as to the true message contained in the communication.       The BA will

also change the code or create transaction-specific codes to thwart law enforcement, Examples

of BA coded language include "X'ed out" (former BA member), "green light" (authorization to

assault or murder), and "tienda" (quota-paying associate). A BA member who has fallen out of

favor might be referred to in the feminine tense or as an "X." The BA will also use pseudonyms

or fictitious names and addresses in letters and during oral communications.




Page '7 of2l
        The BA holds meetings on a regular basis to discuss BA criminal enterprise business.

These meetings typically call for the leadership or membership of a particular area or subdivision

to attend, Some meetings will only be attended by key members or leaders. The frequency of

these meetings is determined on an "as needed" basis.           A meeting may be held to read and

                                                                                   directives.

                                           COUNT ONE
                                         (RICOConspiracy)
                                        (18 U.S.C. § 1962(d))

        The allegations set forth in the Introduction of this Indictment are hereby re.alleged and

incorporated by reference as if fully set forth herein.

        Beginning on or about August 1, 2010, and continuing thereafter, through and including

on or about September 10, 2014, both dates being approximate and inclusive, within the Western

District of Texas, and elsewhere, the defendants,




                              SALVADOR GARCIA-GARCIA (6)
                                     aka: Ardilla,




Page 8 of2l
knowingly combined, conspired, confederated, and agreed together to violate Title 18, United

States Code, Section 1962(c), that is, to conduct and participate, directly and indirectly, in the

conduct of the affairs of that enterprise through a pattern of racketeering activity, as that term is

defined in Sections 1961(1) and 1961(5) of Title 18, United States Code, consisting of multiple

acts indictable under the following provisions of federal law:

               a.      18 U.S.C.  §l95l (extortion and conspiracy to commit extortion);
               b.      18 U.S.C.   §1956(a)(1)(A)(i), 1956(a)(1)(B)(i), and 1956(h) (money
                       laundering and conspiracy to commit money laundering);

and multiple acts involving the following provisions of state law:

               c.      Texas Penal Code §l9.02 (murder), 7.02(a)(2) (aiding and abetting), and
                       15.02 (conspiracy);
               d.      Texas Penal Code § 31.02 and 31.03 (theft and extortion) 702(a)(2)
                       (aiding and abetting), and 15.02 (conspiracy);
               e.      Texas Penal Code §29.01 (robbery) 7.02(a)(2) (aiding and abetting), and
                       15.02 (conspiracy);

and multiple acts involving the distribution of controlled substances, including heroin, in

violation of Title 21 U.S.C. § 841(a)(1), 841(b)(l)(C), 846, 952(a), and 963.



Page 9 of 21
           It was further part of the conspiracy that each defendant agreed that a conspirator would

 commit at least Iwo acts of racketeering activity in the conduct of the affairs of the enterprise.

                                            OVERT ACTS

           It was further part of the conspiracy and as part of the manner and means of the enterprise

_andto affecttheobjects thereotatdeastoneoftheeonspiratorsherein_agree&to..comrit4wo. or
 more of the following overt acts, among others, in the Western District of Texas and elsewhere:

            I.      In 2012,                                                                     began

 providing heroin to srnres in Juarez, Mexico at the behest of SALVADOR GARCIA-GARCIA

 a.k.a Ardilla.

           2.       On or about January 28, 2012, a Confidential Source (CS-ID) imported 147,S

 grams of heroin into the United States from Mexico. CS- 10 received the heroin from

 SALVADOR GARCIA-GARCIA a.k.a. Ardilla, in Juarez.

           was going to receive the heroin from CS-lU once she successfully crossed into the United

 States.

           3.       On or about March 25, 2012                                              ,murdered

 Raymundo Puga, by injecting heroin into Raymundo Puga, causing a heroin overdose, also

 known within the BA as a "hotshot".

           4.       On or about August 1, 2012,

                 sent a coded letter to a BA member who was incarcerated in the TDCJ Smith Unit,

 asking for clarification on whether or not              had been "parked".

           5.       On or about August 9, 2012                                                        told

 Confidential Source-3 (CS-3) that he was beaten up the night before for stealing quota money.




 Page 10 of2l
         6.     On or about August 16, 2012,                                            , sold    12

  dimes" of heroin to CS-3.

         7,     On or about August 24, 2012, Luis "Chuco" Fierro, who was running a larger area

 of El Paso and was viewed as a high ranking member of the BA was murdered along with his

daughter's fiancd. Fierro's death caused a powershiftand

took over running BA operations for El Paso.

         8.    On or about November 6, 2012, an

                                                                 and other members of the BA

enterprise held a meeting at a bar known as the "office'. Members discussed "quota" collection.

        9.     On or about November 30, 2012, an enterprise rneeling was held at the house of

                                                              attended by



and other members of the enterprise. A "calentada" was carried out at this meeting.

        10.    On or about December 17, 2012, CS-i collected quota money from a BA

member. That member brought an individual who was selling cocaine.

                   had CS-i place         on speaker phone and reminded the individual that the

individual had to pay quota. The BA member then displayed a firearm.

        II.    On or about February 19, 2013, CS-3 met with

                                to write a coded letter to an incarcerated BA member.

        12.    On or about February 21, 2013, a BA enterprise meeting was held and



                                                                                  and other BA

members attended. The group discussed retaliation on members of a rival gang, the "Surrenos".



Pave If o121
         13,     On or about April 2, 2013, CS-9 purchased heroin from




         14.     On or about April 5, 2013, cs-I purchased cocaine from




         16.     On or about April 24, 2013,                                  directed cs-i to use

quota money to purchase money orders for four incarcerated BA members.

        17.      on or about May 8, 2013,                                 ,   directed cs-i to use

quota money to purchase money orders for four incarcerated BA members.

        18.      On or about May 19, 2013, a BA leadership meeting was held. Present were




         ,                                     ,                                       ,




                                                                                           and other

members.                                           called and was placed on speaker phone.

               stated that                                      and

                       were selling a lot of drugs. Several issues were discussed, but the main

discussion was the collection of "quota', opening more drug stores and discipline of BA

members who were not in good standing.

        19.      On or about May 22, 2013,                                    directed cs-i to use

quota money to purchase nine money orders for incarcerated BA members.

        20.      On or about July 23, 2013, cs-2 received quota money from




Page 12 of2l
           21.    On or about August 6, 2013, CS-2 turned over all the quota money collected for

El Paso to                                              and

                                                               then called

           and reported the amount.

           22.



                                    and other BA members,                                       called

and ordered a "calentada" on a member who refused to pay quota.

           23.    On or about October 23, 2013, CS-2 purchased heroin from



           24.    On or about May 6, 2014, CS-3 received heroin from

                        with instructions to mail it to an address in Georgia so that the heroin could

be delivered to incarcerated BA members.

                        NOTICE OF SPECIAL SENTENCING FACTORS

           On or about March 26, 2012, in the Western District of Texas and elsewhere, the

defendant,                                                       ,   intentionally or knowingly caused

the death of Raymundo Puga a.k.a. Flaco, a member of BA enterprise, in violation of Texas

Penal Code §19.02(b)(1), 7.02(a)(2) and 15,02.

           On or about August 1, 2010 continuing through and including on or about September 10,

2014 in the Western District of Texas and elsewhere, the defendants,

                   ,                                             ,




       U



                       SALVADOR GARCIA-GARCIA (6) aka: Ardilla,



Page 13 of2
                                                             ,nd
                knowingly, intentionally, and unlawfully conspired, combined, confederated, and

agreed together, and with each other, and with others to the Grand Jury unknown, to commit

offenses against the United States, in violation of Title 21, United States Code, Section 846, that

is to say, they conspired to possess a controlled substance, which offense involved one kilogram

or more of a mixture or substance containing a detectable amount of heroin, a Schedule I

Controlled Substance, with intent to distribute same, contrary to Title 21, United States Code,

Section 841(a)(I).

          All in violation of Title 18, United States Code, Section 1962(d).

                                           COUNT TWO
                               (Murder of Raymundo Puga a.ka, Flaco)
                                       (18 US.C. 1939(a)(l))

          At all times relevant to this Indictment, the Barrio Azteca, as more ftilly described in the

Introduction of this Indictment, which is re-alleged and incorporated by reference as though set

forth tilly herein, constituted an enterprise as defined in Title 18, United States Code, Section

1   959(b)(2), that is, a group of individuals associated in fact which was engaged in, and the

activities of which affected, interstate and foreign commerce. The enterprise constituted an




Page 14 of 21
ongoing organization whose members functioned as a continuing unit for a common purpose of

achieving the objectives of the enterprise.

        At all times relevant to this Indictment, the above-described enterprise, through its

members and associates, engaged in racketeering activity as defined in Title 18, United States

                                                                          in v latgn of Texas

Penal Code § 19.02, 7.02(a)(2), and 15.02 (murder, aiding and abetting, and conspiracy), Texas

Penal Code § 31.02 and 31.03, 7.02(a)(2), and 15.02 (theft and extortion, aiding and abetting,

and conspiracy), and Texas Penal Code §29.01, 7.02(a)(2), and 15.02 (robbery, aiding and

abetting, and conspiracy); narcotics trafficking in violation of Title 21, United States Code,

Sections 841, 846, 952(a) and 963; and acts indictable under Sections 1951 (extortion) and 1956

(money laundering) of Title 18, United States Code.

        On or about March 26, 2012, in the Western District of Texas, as consideration for the

receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value

from the BA, and for the purpose of gaining entrance to and maintaining and increasing position

in the BA, an enterprise engaged in racketeering activity,




the defendant with others known and unknown to the Grand Jury, unlawfully and knowingly

murdered Raymundo Puga a.k.a. Flaco, in violation of Texas Penal Code §19.02(b)(1).

        All in violation of 18 U.S.C. 1959(a)(l) and 2.




Page 15 of2I
                                        COUNT THREE
                                 (21 U.SC. §    846 & 841(a)(1))

        That from on or about August 1, 2010, and continuing through and including on or about

September 10, 2014, in the Western District of Texas, Defendants,



                              SALVADOR GARCIA-GARCIA (6)
                                          aka: Ardilla,




knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed

together, and with each other, and with others to the Grand Jury known and unknown, to commit

offenses against the United States, in violation of Title 21, United States Code, Section 846, that

is to say, they conspired to possess a controlled substance, which offense involved a mixture or

substance containing a detectable amount of heroin, a Schedule I Controlled Substance, with

intent to distribute same, contrary to Title 21, United States Code, Section 841(a)(1) in the

quantities set forth below.

  QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

        The quantity of the mixture or substance containing heroin involved in the conspiracy

and attributable to each Defendant as a result of each Defendant's own conduct and as a result of

the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:




Page 16 of2l
             DEFENDANT                           QUANTITY                       STATUTE
                                          1 kilogram or more           21 U.S.C. § 841(b)(1)(A)(i)
SALVADOR GARCIA-GARCIA                    1 kilogram or more           21 U.S.C. § 841(b)(1)(A)(i)
                                          1 kilogram or more           21 U.S.C. § 841(b)(1)(A)(i)

                                          1   kilogram or more         21 U.S.C. §841(b)(1)(A)(i)
       -

                                                                       2ILL&C484i(b(IXBi)
                                          100 grams or more            21 U.S.C. § 841(b)(1)(B)(i)
                                          1   kilogram or more         21 U.S.C. § 841(b)(1)(i)

           All in violation of Title 21, United States Code, Section 846.

                                              COUNT FOUR
                                 (21 U.S.C. § 963, 952(a) & 960(a)(1))

           That from on or about August 1, 2010, and continuing through and September 10, 2014,

in the Western District of Texas, Defendants,



                                 SALVADOR GARCIA-GARCIA (6)
                                        aka: Ardilla,




knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed

together, and with each other, with others to the Grand Jury known and unknown, to commit

offenses against the United States, in violation of Title 21, United States Code, Section 963, that

is to say, they conspired to import a controlled substance, which offense involved a mixture or

substance containing a detectable amount of heroin, a Schedule I Controlled Substance, into the

United States from Mexico, contrary to Title 21, United States Code, Sections 952(a) and

960(a)(1) in the quantities set forth below.


Page 17 of2l
   QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

        The quantity of the mixture or substance containing heroin involved in the conspiracy

and attributable to each Defendant as a result of each Defendant's own conduct and as a result of

the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

                                              Q UANTITY                      STATUTE
                                       1 kilogram or more           21 U.S.C. § 960(b)(1)(A)
SALVADOR GARCIA-GARCIA                 1 kilogram or more           21 U.S.C. § 960(b)(1)(A)
                                       1   kilogramormore

                                       1   kilogram or more         21 U.S.C. § 960(b)(1)(A)
                                       100 grams or more            21 U.S.C. § 960(b)(2)(A)



        All in violation of Title 21, United States code, Section 963.

                                            COUNT FIVE
                                  (21 U.S.C. §  846 & 841(a)(l))

        That from on or about August 1, 2010, and continuing through and including on or about

September 10, 2014, in the Western District of Texas, Defendant,




knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed

together, and with each other, and with others to the Grand Jury known and unknown, to commit

offenses against the United States, in violation of Title 21, United States Code, Section 846, that

is to say, they conspired to possess a controlled substance, which offense involved a mixture or

substance containing a detectable amount of cocaine, a Schedule II Controlled Substance, with

intent to distribute same, contrary to Title 21, United States Code, Section 841(a)(l) in the

quantities set forth below.




Page 18 of2I
   QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

         The quantity of the mixture or substance containing cocaine involved in the conspiracy

and attributable to each Defendant as a result of each Defendant's own conduct and as a result of

the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

           DEFENDANT                         QUANTITY                        STATUTE
                                       a quantity                   21 U.S.C. § 841(b)(1)(C)
                                       a quantity                   21 U.S.C. § 841(b)(1)(C)

        All in violation of Title 21, United States code, Section 846.

                                           COUNT SIX
                       (18 U.S.C. §l956(a)(1)(A)(i) & (B)(i)& (ii) & (h))

        That beginning on or about August 1, 2010, and continuing through and including on or

about September 10, 2014, in the Western District of Texas, and elsewhere, Defendants,




                              SALVADOR GARCIA-GARCIA (6)
                                     aka: Ardilla,




Page 19 of2l
did intentionally and knowingly combine, conspire, confederate, and agree with each other and

others known and unknown to the Grand Jury, to knowingly conduct and attempt to conduct

financial transactions affecting interstate commerce, knowing that the property involved in such

financial transactions represented the proceeds of some form of unlawful activity, such property

being, in fact, the proceeds of a specified unlawful activities, to wit: conspiracy to possess with

the intent to distribute a controlled substance in violation of 21 U.S.C. §846 and extortion and

conspiracy to commit extortion in violation of 18 U.s.C. § § 1951 and 371:

        a.   with the intent to promote the carrying on of said specified unlawful activity, in

violation of Title 18, United States Code, Section 1956(a)(1)(A)(i); and

        b. knowing that the transactions were designed in whole or in part to conceal and disguise

the nature, the source, the ownership, and the control of the proceeds of said specified unlawful

activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i);

        All in violation of Title 18, United States Code, Section 1956(h).

                                         COUNT SEVEN

                                        (18 U.S.C. §922(d))

        That beginning on or about February 13, 2013, in the Western District of Texas,

Defendant,



knowingly disposed of, provided a firearm to, or sold a firearm that is a 9mm handgun serial

number BFI 9327, Model number FEG to another person knowing and having reasonable cause



Page 20 of 21
to believe that said person had been convicted of a crime punishable by imprisonment for a term

exceeding one year in violation of Title 18, United States Code, Sections 922(d) and 924(a)(2).




                                                            ckLNAL SIGNATURE
                                                                                 OF 2QQ2



ROBERT PITMAN
UNITED STATES ATTORNEY


BY:
      Michael R. Whyte
      Assistant U.S. Attorney




 Page 21 of2l
